                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                             BRYSON CITY DIVISION


UNITED STATES OF AMERICA                       )       DOCKET NO. 2:06CR6-2
                                               )
               vs.                             )       ORDER FOR DISMISSAL
                                               )
JAMES PATRICK DAVIS                            )


       THIS MATTER is before the Court on the Government’s motion to dismiss the

indictment herein as to the captioned Defendant.

       For the reasons stated in the motion,

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the indictment is DISMISSED WITHOUT PREJUDICE as to James Patrick Davis.

       The Clerk is directed to transmit copies of this Order electronically to the U.S. Probation

Office, the United States Attorney's Office and defense counsel.


                                                   Signed: June 23, 2006




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